
AT the District Court of Staunton in September, 1800, the defendant was indicted for unlawfully, and feloniously maiming one George King, by biting off both his thumbs. The court awarded a capias against the de *130fendant returnable immediately, which having been executed, be was brought into court the next day, and he pleaded not guilty. The trial was postponed to the seventh day of the court; a venire facias was awarded, to cause a jury to appear, returnable the said day, and the defendant was bailed till that time. On the day to which the cause was continued, the defendant appeared, and was allowed to withdraw his former plea, and to plead a new plea. He thereupon pleaded, that by the laws and usages of the commonwealth, he was entitled to an enquiry before a court of examination, before he can be indicted and arraigned before the district court. The question arising on this plea was adjourned to the general court.
November 15th, 1800. The general court, consisting of Tucker, Tyler, Nelson, White and Carrington, decided, “ that the new plea, pleaded by the defendant, “ ought to be overruled by the district court, and that “ the said courf ought to proceed in the trial of the de» “ fendant upon the presentment and indictment in the “ record mentioned.”
*** The act of assembly passed January 24th, 1804, Sect. 5th, (2d vol. of Rev. Code, p. 38,) provides, “ that “ before any person charged with treason or felony, shall u be tried before a district court, he or she shall be ex- *131- amined in the manner prescribed by law, by the court of the county or corporation wherein the offence was “ committed;” . -mm
